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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                   CASE NO. 3:18cr94-MCR

ROBERT M. SMITH
_____________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, ROBERT M. SMITH, to Counts One and Six of the indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

      DONE and ORDERED this 16th day of October 2018.



                                      s/   M. Casey Rodgers
                                    M. CASEY RODGERS
                                    UNITED STATES DISTRICT JUDGE
